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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

JUSTIN L. WRIGHT                                        CIVIL ACTION NO. 20-0982

                                                        SECTION P
VS.
                                                        JUDGE TERRY A. DOUGHTY

OUACHITA PARISH CORRECTIONAL                            MAG. JUDGE KAREN L. HAYES
CENTER, ET AL.

                                         JUDGMENT

       The Report and Recommendation of the Magistrate Judge [Doc. No. 9] having been

considered, no objections thereto having been filed, and finding that same is supported by the

law and the record in this matter,

       IT IS ORDERED, ADJUDGED, AND DECREED, that Plaintiff Justin L. Wright’s

claims are DISMISSED as frivolous and for failing to state claims on which relief may be

granted.

       MONROE, LOUISIANA, this 9th day of November, 2020.



                                                  ______________________________________
                                                  TERRY A. DOUGHTY
                                                  UNITED STATES DISTRICT JUDGE
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